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SDO§\L nos
PAYMENT SCHEDUL.E FOR COURT~ORDI§RED MONETARY PENALT|ES
Name: Daniel Vance Wal!s Dockel: #; Z:OQ~CR-S<Ll
AddrESS! 28 l 3 Morgans Forl< Road Judgc; Thc Honorable Jaines L.

Waverly, Oliio ¢5690 Gralmm, United States Districl
Court judge
Soutliern Distriot oFOhio

Yon have been ordered by the United Statcs District Coun to pay a special assessment of$Z()(l.{lO, and a fine in the amoun!

o‘f" fl£ 20.000,00, ns n condition of your supewision (probation, parole, or supervised release).

`P' rob§ lion Ofi`zcel"s Recon_}mendntion:

li is the reco:nu"lendation of` the Probation Ofi`lcer that the conn order a payment schedule in the amount of $ 25.00,
commencing 7/!0/2018. This is based on the following analysis of1 your ability to pay: Unon review of all of Mr. Walls
ex :)ense oin yalions and income it a ears he can n ' $25.00 nionthl toward his court ordered obligation

lllWM/M 7'/5~/<§'

 

U. S. Probation ()fl`icer Date
()rder of the Court: The Courr orders minimum monthly payments oFS to commence on

and lo continue until the debt is satisfied or the Court alters the payment Scliedule.

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w oi` Judlc:al Off':cer Dnte / /

instructions to offender: Paycncnts must be in the form oi`a l`vloney Ol‘der, Cerlil`aed Chccl< or Cnshier’s Clieck. Personal
checks will not be aecepted. The check or money order must be made payable to: Clerl<, U.S. District Colzrt. Please
reference the docket # listed above on the check or money order. Snbxnit the payment directly to the Clerk of Conrts nt:

 

United States Clerk ofCourts
U. S. Courthouse, Room 123
85 lvlzn'coni Boulevard
Colnmbns. Ohio 42315

§oig:: Your restitu£ion/fine bears or does not bear (s!.‘ril<e one) intercst. There could be additional monetary penalties for
payments that come past due an outlined in the attached Gene:"al Insl'ructions Re;aardinn Special Assessanenrs. Restitution
and Fines For Persons Under Snoervision. l agree to make payments as outlined above l understand that failure-10 abide by
this agreement could result in revocation ol`my supervision and other penalties ll` for any reason I am unable to make n

Original: Probation file
Copies: Del`endant, Cierk of Coun, US Attorney office, FLU

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scliednled payment, l wiil contact my Probalion Oflicer immediately to advise l hereby acknowledge linn I have received
a copy ol‘” this schedule and agreement

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Dc l`cndant Dnie

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U. S. Probznion Oflicer l)ate

 

 

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UNITED S'I`ATES DISTRICT COURT
SOUTHERN DISTRICT {)F OHIO
U.S. Probation Off'ice

Generai Instructions Regarding Special Assessments,
Restitution and Fincs for Persons Under Supervision

Your sentence in the United States District Court provided for payment of one or more ofthe above type monetary
penalties The purpose ofthese instructions is to provide you with additional information and special requirements of
these obligations

Regarding Restitution and Fiaes

Nonpayment of Court~ordered restitution and fines is a violation of supervision which will be reported to the Couit and/or
Paroie Coinmission. Noncompliance with payment may also result in the denial of ieisurefrecreational travel.
Furthermore, you may be required to seek part-time empioyrnent, complete financial planning counseling or reduce
current expenditures

No case with unpaid monetary obligations shall reach expiration of supervision without appropriate action from the Coun
or Psroie Commission.

Generai Informa$ion
l. Special Assessments, Restitution and Fines
Payable to Cierk U.S. District Court, in the Clerk’s Ofi`lce in the .Division in which sentence was imposed
il. Method ofPayrnents
A, Special Assessments, Restitution and Fine§ - Payable to Clerk, U.S. District Court, in the form of a
money order, certified check or cashier’s check. Personal checks are not accepted Cash payments may
be made only when making direct payments in person at the Cleric’s oft`ice.

lli. Due Dates for Special Assessments, Restitution and Fines

A. lmmedia@ Pamen - unless otherwise ordered by the Couit, the total amount ofthe special sssessment,
restitution or fine ordered is due and payable immediately

B. B§t`erred Payment - if the Court has allowed deferred payment of your special assessmentl restitution or
fine, there is a date certain that the obligation is due in full

C. Iastai|ment Paymen - if the Court has allowed you to make instaflrnent payments, a payment pian will be
outlined by the Court (or by your Proi)ation Ot°ficer).

IV. Interest

The law requires that interest be computed on all restitution and fines in excess ot`$2,500. Interest' is computed
on a daily basis at a rate equal to the rate of U.S. Treasury biils, interest for fines is imposed for offenses
committed after l2/l 1187, and on all restitution imposed for oi¥`enses committed after 4/24!96. The U.S.
Attomey, Financial Litigation Unit, makes those computations Interest applies to all restitution and lines in
excess of $2,500 unless:

A. Waived by the Coun, or

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B. li` paid in f`uil within IS days n'l"ter imposed
V. Penalties for Late Payments

A‘ Delinquent Payments ~ Fedei‘a| law provides that iitlie payment of`tt fine or restitution is more than 30
days late, you are delinquent and must pay ss a penalty an amount equal to 10% ol`the principal amount
that is delinquent

BK Default - Federal law provides that ii` payment of a fine or restitution is more than 120 days late, you are
in default and must pay as n penalty an amount equal to 15% of the principal amount that is di\:linquentl
Adtiitionnlly, once n payment is in defauft, the entire amount of the fine and restitution, pins all
penalties and interest. is due within 30 davs after notif'ienti_____o___:__al ofdefault.

C. Additional Penalt'ies - if you t`ail to pay the restitution, tine or assessinent, as well as penalties and
interest, as ordered:. the following additional actions n_my be take_n: _
i. Your conditions of supervision may be tnocli'ited, including tire length of`the term of supervision;
2. Your tvages map be_gztt‘nished? property attnched, or Sevei'al other perinissibie
enforcement/co leetion remedies may be utilized;

3. Revocation of Supervision (probation or supervised release) may occur and the Court may
resentence you to the maximum statutory penalty

VI. Penalties l"or Willt`ul Faiiure to Pay Fine and/or Assessment
Federal law provides that willful thilure to pay fines and assessments constitute a separate offense 'l`iie penalty
carries a maximum penalty ol" one year imprisonment and /or a line of$ l 00,0(}0 (or twice the unpaid balance of`
the fine).

Vll. Dei`endant’s liability for Unpaid Restitution or Fine
lt`tltc Court should ailow your supervision to terminate and the amount ofyour i"ine has not been paid in fuii, the
U.S. Departtnent ot`.lustice (U.S. Attorney’s oft"iee) must still pursue collection ot`the unpaid balance Collect§on
of'the unpaid balance can happen for 20 years

Vlll. Applicntion for Payntents

Monies received in payment will first be applied to assessments then restitution and finnliy the fine.

l acknowledge receipt oi` a copy ot`tiiese general instructions and have read them or had them read to me

DW/M& 7»;?~/¢?

Det"endnnt Dnte

FW "]-tt~/?

U. S. Probntion Ot`t"tcer Date

 

 

